                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
vs.                                         )       Case No. 15-05034-01-CR-SW-RK
                                            )
SANTIAGO SOTO-GARCIA,                       )
                                            )
                       Defendant.           )

                                            ORDER

       Pending before the Court is Defendant's Motion to Suppress Evidence (Doc. 77) and a
Motion to Suppress an Unlawful Stop and Seizure (doc. 78). Defendant argues in his Motion to
Suppress Evidence (doc. 77) that the stop of his vehicle was unreasonably extended for a drug dog
sniff. In Defendant’s Motion to Suppress an Unlawful Stop and Seizure (doc. 78), Defendant
contends there was no reasonable suspicion or probably cause to stop him because he did not
commit a traffic violation.
       On June 21, 2016, United States Magistrate Judge David P. Rush conducted an evidentiary
hearing on the motions to suppress. Objections were due by September 12, 2016. No objections
have been filed.
       On August 24, 2016, Judge Rush issued his Report and Recommendation (doc. 109).
Upon careful and independent review of the pending motions, as well as the applicable law, this
Court hereby adopts and incorporates as its own Opinion and Order the Report and
Recommendation of United States Magistrate Judge David P. Rush.
       Accordingly, it is hereby ORDERED that Defendant's Motion to Suppress Evidence (doc.
77) and Defendant’s Motion to Suppress an Unlawful Stop and Seizure (doc. 78) are
OVERRULED and DENIED.
       SO ORDERED.
                                                    s/ Roseann A. Ketchmark
                                                    ROSEANN A. KETCHMARK, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: September 30, 2016



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